
517 S.E.2d 891 (1998)
349 N.C. 356
Yvonne ELLISON
v.
Luis RAMOS.
No. 397P98.
Supreme Court of North Carolina.
November 5, 1998.
James R. Glover, Chapel Hill, Karen Davidson, for Ramos.
*892 R. Terrell Milner, Chapel Hill, for Ellison.
Prior report: 130 N.C.App. 389, 502 S.E.2d 891.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 5th day of November 1998."
Upon consideration of the petition filed by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of November 1998."
